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                     EXHIBIT 1
BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
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                                                                                                       Bringing Nanoscience to Life


                                                                      Company            NanoBio® Protect   NanoVax® Platform   News




        NanoBio® Protect Nasal Antiseptic Solution




        NanoBio® Protect is an alcohol-free nasal
        antiseptic solution that can be used to
        help reduce germs on skin that can cause
        infections. The product is easy to apply
        with any cotton swab for use on the skin
        around the rim of your nose as well as the
        skin up to one-half inch inside each nostril.
        It is non-irritating, fragrance-free and
        leaves no residue after application.

        NanoBio® Protect is an FDA regulated
        over-the-counter skin antiseptic that
        incorporates the active ingredient
        benzalkonium chloride (BZK), which has
        been used in humans as a topical skin
        antiseptic since the 1940’s. NanoBio®
        Protect is similar in concept to a hand sanitizer but is designed for use on the skin inside and around the
        nose where germs frequently enter the body.



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        The unique effectiveness of NanoBio® Protectis derived from BlueWillow’s patented nanotechnology.
        NanoBio® Protect places the BZK antiseptic on the surface of nano-droplets, which results in at least four key
        advantages:

            1. The nano-droplets are attracted to germs by electro-kinetic charge and present the BZK in such a way
                to enable killing of germs on contact,
            2. The droplets persist on skin for 4 or more hours, enabling long-lasting effectiveness,
            3. The droplets significantly hydrate skin to avoid dryness and cracking that can allow germs in.
            4. And lastly, when bound to nano-droplets, BZK is non-irritating to the skin.

        NanoBio® Protect kills
        germs via membrane
        disruption. NanoBio®
        Protect is comprised of
        positively charged
        droplets that are 300–
        600nm in size. The
        droplets are attracted
        to negatively charged
        germs in the skin. As
        shown to the right, the
        nano-droplets
        physically disrupt the outer membrane of germs, killing on contact.

        NanoBio® Protect is applied by thoroughly swabbing the skin up to one-half inch inside of each nostril and is
        recommended for use to help reduce germs on the skin in and around the nose that can cause infections. It
        should be used in conjunction with frequent handwashing, limited touching of the face, and social
        distancing to help minimize infection. Each 0.75 oz bottle of NanoBio® Protect will provide 40 or more
        treatments. A single application should involve the use of two swabs, including one for each nostril, or the
        use of a double-sided swab.

        The product can be applied to the skin every 4–8 hours as needed, and is recommended for use during
        periods of increased risk of exposure to germs. For example, a healthcare worker might apply NanoBio®
        Protect two or more times a day. A flight attendant might apply the product 1–2 times during a long flight.
        Whereas, someone that is mostly staying at home in isolation may only need to apply it once a day or every
        few days prior to heading to the store or to an appointment.

        Scientific Research Behind NanoBio® Protect
        BlueWillow’s
        nasal
        antiseptic


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        has not
        been
        clinically
        tested to
        confirm
        protection
        against
        COVID-19
        infection in
        humans. It
        has




        demonstrated both anti-bacterial and anti-viral activity in laboratory tests making it a potentially important
        additive measure to reduce the risk of infection

        Standard in vitro lab experiments demonstrate that NanoBio® Protect kills more than 99.99% of germs within
        60 seconds of exposure, as shown in the graph to the right.

        Recent studies conducted by Public Health England also demonstrate NanoBio® Protect’s ability to kill
        COVID-19 virus in laboratory tests. However, as stated above, studies to test for protection in humans have
        not yet been performed.

        In addition, ex vivo tests in human skin (Figure A below) demonstrate that NanoBio® Protect persists on skin
        up to 7x better than commercial products and aqueous solutions containing the same BZK antiseptic agent.
        In vivo studies conducted in human volunteers (Figure B below) demonstrate that a single application of
        NanoBio® Protect significantly increases skin hydration for at least 3 hours, as compared to common hand
        sanitizer products:




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        Safety
        NanoBio® Protect and similar NanoBio® formulations have been tested extensively in animal and human
        studies involving topical application to skin. These studies demonstrate that topical NanoBio® products are
        non-irritating and are not absorbed systemically. The products are alcohol-free and are comprised of
        nanodroplets that have been optimized to provide significant advantages when used as topical antiseptic
        products, without being absorbed through the skin and into the bloodstream.

        NanoBio® Protect’s active ingredient is 0.13% benzalkonium chloride, which is regulated by the FDA as a skin
        antiseptic and has been used in humans for over 75 years. Unlike alcohol-based products, NanoBio® Protect
        does not irritate or dry out the skin, and instead provides a moisturizing and comforting experience. The
        product should be applied with any cotton swab to the skin around the nose and up to one-half inch inside
        of each nostril where germs frequently enter the body.

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        Peer-Reviewed Scientific Publications
        Other scientific publications describe the extensive research conducted with topical NanoBio formulations,
        as listed below:

            “A Nanoemulsion as an Effective Treatment Against Human Pathogenic Fungi”. Therapeutics and Prevention.
            2019, Nov/Dec 4:6
            “Screening of Nanoemulsion Formulations and Identification of NB-201 as an Effective Topical Antimicrobial
            for Staphylococcus aureus in a Mouse Model of Infected Wounds”. Military Medicine. 2016, May: 181, 5S:259-
            264
            “Nanoemulsion Therapy for Burn Wounds Is Effective as a Topical Antimicrobial Against Gram-Negative and
            Gram-Positive Bacteria”. Burn Care Res. 2016, March /April: 37(2); 104-114
            “Treatment With a Novel Topical Nanoemulsion (NB-001) Speeds Time to Healing of Recurrent Cold Sores”.
            Drugs Dermatol. 2012 Aug; 11(8):970-7
            “In Vitro Antibacterial Activity of NB-003 against Propionibacterium acnes”. Antimicrobial Agents And
            Chemotherapy, Sept. 2011,Vol. 55, No. 9, p. 4211–4217
            “Topical Nanoemulsion Therapy Reduces Bacterial Wound Infection And Inflammation After Burn Injury”.
            Surgery. 2010
            “NB-002, A Novel Nanoemulsion With Broad Antifungal Activity Against Dermatophytes, Other Filamentous
            Fungi, And Candida Albicans”. Antimicrobial Agents And Chemotherapy, Aug. 2009, Vol. 53, No. 8, p. 3273–
            3279
            “In Vitro Activities of a Novel Nanoemulsion against Burkholderia and Other Multidrug-Resistant Cystic
            Fibrosis-Associated Bacterial Species”. Antimicrobial Agents And Chemotherapy, Jan. 2009, Vol. 53, No. 1, p.
            249–255
            “The Fungicidal Activity Of Novel Nanoemulsion (X8W60PC) Against Clinically Important Yeast And
            Filamentous Fungi”. Mycopathologia 155: 195–201, 2001
            “A Novel Surfactant Nanoemulsion With A Unique Non-Irritant Topical Antimicrobial Activity Against
            Bacteria, Enveloped Viruses And Fungi”. Microbiol. Res. (200I) 156, I-7
            “Inactivation Of Ebola Virus With A Surfactant Nanoemulsion”. Acta Tropica 87 (2003) 315/320
            “Antimicrobial Mechanism Of Action Of Surfactant Lipid Preparations In Enteric Gram-Negative Bacilli”.
            Journal of Applied Microbiology 2000, 89, 397-403
            “Prevention of Murine Influenza A Virus Pneumonitis by Surfactant Nano-emulsions”. Antiviral Chemistry &
            Chemotherapy, 2000, 11:41-49
            “A Novel Surfactant Nanoemulsion with Broad-Spectrum Sporicidal Activity Against Bacillus Species”. The
            Journal of Infectious Diseases, 1999, 180:1939–49




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